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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                CASE NO.: 9:21-CV-81565-DMM

      WILLIAM DAVID WILCOX JR. a/k/a,
      DAVID WILCOX, an individual, and
      MEGAN DANIELLE LUCHEY, an
      individual

              Plaintiffs,

              V.

      LA PENSEE CONDOMINIUM
      ASSOCIATION, INC., a Florida Not-For-
      Profit Corporation, MARY MCFADDEN, an
      Individual, MAC RESIDENTIAL
      MANAGEMENT SERVICES, LLC, a
      Florida Limited Liability Company, and
      DAVID WOLFF a/k/a DAVID WOLF, an
      Individual,

              Defendants

      ________________________________/

                                  NOTICE OF APPEARANCE


             PLEASE TAKE NOTICE that Neil Bryan Tygar, Esq. of the Law Offices of Neil

      Bryan Tygar, P.A., enters his appearance as counsel for William David Wilcox Jr. a/k/a

      David Wilcox in this cause. All further pleadings and documents in this case should be

      forwarded to the undersigned attorney at the below stated address.

                        NOTICE OF PRIMARY E-MAIL DESIGNATION

             Undersigned counsel, hereby designates the following e-mail addresses for

      receiving service:

             Primary E-mail:              ntygar@me.com

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             Secondary E-mail:             neiltygarlaw@gmail.com


                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was

      electronically filed August 7th, 2022, with the Southern District of Florida using the

      CM/ECF e-filing Portal and served by an automatic email generated by the Florida

      Courts e-filing portal.



                                            Neil Bryan Tygar, P.A.
                                            Attorneys for Plaintiff
                                            David Wilcox
                                            By: /s/ Neil B. Tygar
                                            Neil Tygar
                                            Executive Square Plaza
                                            5341 West Atlantic Avenue, Suite 303
                                            Delray Beach, FL 33484
                                            561-455-0280 Phone
                                            561-305-5214 Cellular Phone
                                            561-455-0281 Fax
                                            Florida Bar No. 0911100
                                            Primary E-Mail Address: ntygar@me.com
                                            Secondary E-Mail: neiltygarlaw@gmail.com




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